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                   EXHIBIT H
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                       Prescription opioid mortality trends in New York City, 1990–
                       2006: Examining the emergence of an epidemic᧺  ᧺
                       Magdalena Cerdáa,*, Yusuf Ransomeb, Katherine M. Keyesa, Karestan C. Koenena, Melissa
                       Tracya, Kenneth J. Tardiffc, David Vlahovd, and Sandro Galeaa
                       aDepartmentof Epidemiology, Columbia University Mailman School of Public Health, New York,
                       NY 10032, USA
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                       bDepartmentof Sociomedical Sciences, Columbia University Mailman School of Public Health,
                       New York, NY 10032, USA
                       cCornell    University Weill School of Medicine, New York, NY 10065, USA
                       dSchool    of Nursing, University of California, San Francisco 94143, USA

                       Abstract
                            Background—The drug overdose mortality rate tripled between 1990 and 2006; prescription
                            opioids have driven this epidemic. We examined the period 1990–2006 to inform our
                            understanding of how the current prescription opioid overdose epidemic emerged in urban areas.

                            Methods—We used data from the Office of the Chief Medical Examiner to examine changes in
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                            demographic and spatial patterns in overdose fatalities induced by prescription opioids (i.e.,
                            analgesics and methadone) in New York City (NYC) in 1990–2006, and what factors were
                            associated with death from prescription opioids vs. heroin, historically the most prevalent form of
                            opioid overdose in urban areas.

                            Results—Analgesic-induced overdose fatalities were the only types of overdose fatalities to
                            increase in 1990–2006 in NYC; the fatality rate increased sevenfold from 0.39 in 1990 to 2.7 per
                            100,000 persons in 2006. Whites and Latinos were the only racial/ethnic groups to exhibit an
                            increase in overdose-related mortality. Relative to heroin overdose decedents, analgesic and
                            methadone overdose decedents were more likely to be female and to concurrently use
                            psychotherapeutic drugs, but less likely to concurrently use alcohol or cocaine. Analgesic
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                       ࠲Supplementary material can be found by accessing the online version of this paper. Please see Appendix A for more information.
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                       Correspondence to: Magdalena Cerdá.
                       *
                        Corresponding author at: Columbia University Mailman School of Public Health, 722 W168th Street, Room 527, New York, NY
                       10032, USA. Tel.: +1 212 305 2570; fax: +1 212342 5168., mc3226@columbia.edu, magda.cerda@gmail.com (M. Cerdá).
                       Contributors
                       M. Cerdá, K. Keyes and S. Galea designed the study and wrote the protocol. M. Cerdá, M. Tracy and Y. Ransome undertook the
                       statistical analyses, and M. Cerdá wrote the first draft of the manuscript. K. Koenen, K. Tardiff and D. Vlahov provided critical input
                       to the revision of manuscript drafts. All authors contributed to and have approved the final manuscript.
                       Conflict of interest
                       No conflict declared.
                       Appendix A. Supplementary data
                       The following are the supplementary data to this article:
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                              overdose decedents were less likely to be Black or Hispanic, while methadone overdose decedents
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                              were more likely to be Black or Hispanic in contrast to heroin overdose decedents.

                              Conclusions—The distinct epidemiologic profiles exhibited by analgesic and methadone
                              overdose fatalities highlight the need to define drug-specific public health prevention efforts.

                        Keywords
                              Mortality; Opioid analgesics; Methadone; Overdose; Prescription drugs; Epidemiology; Urban
                              health


                        1. Introduction
                                        Overdose death linked to prescription opioids is a growing public health crisis. The current
                                        epidemic accelerated during a fifteen-year interval between 1990 and 2006. In particular, the
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                                        mortality rate from drug overdose tripled between 1990 and 2006 (CDC, 2010): by 2006, the
                                        number of overdose deaths in the United States exceeded the number of suicides; by 2009,
                                        they also exceeded the number of motor vehicle deaths. Prescription opioid analgesics,
                                        painkillers derived from opium or synthesized to possess narcotic properties similar to
                                        opioids, including oxycodone, hydrocodone and codeine, have driven this overdose
                                        epidemic (CDC, 2011; Warner et al., 2009). Prescription opioids may have been obtained
                                        legally through a prescription, or diverted through illegal distribution networks.

                                        Although much has been written about the epidemic of prescription drug use in rural areas
                                        (Green et al., 2011; Hall et al., 2008; Paulozzi et al, 2009; Piercenfield et al., 2010; Shah et
                                        al, 2008; Wunsch et al, 2009), the epidemic increase in prescription opioid overdose that
                                        occurred between 1990 and 2006 is also reflected in urban areas. For example, from 1997 to
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                                        2002, the number of overdose deaths involving prescription opioids increased 97% in
                                        metropolitan areas during a time when overdose from all drugs increased only 27%
                                        (Paulozzi, 2006). By 2002, prescription opioids were involved in more deaths than heroin or
                                        cocaine, the two drugs responsible for most drug abuse in the 1990s (Paulozzi, 2006).

                                        Little information exists on the demographic or spatial patterns of fatal prescription opioid
                                        overdose in urban areas in the period leading up to the emergence of the epidemic. Urban
                                        studies have focused on the patterns of prescription opioid misuse at one point in time
                                        among specific subgroups such as street drug users or marijuana smoking young women
                                        (Bardhi et al, 2007; Davis and Johnson, 2008; Lankenau et al., 2012a, 2012b), but to our
                                        knowledge, no study has yet examined the longitudinal trends and geographic variation of
                                        prescription opioid overdose in a major city in this period.
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                                        Therefore, examining the period leading up to the current prescription opioid overdose
                                        epidemic in urban areas can lead to important insights. Examining such a period can help us
                                        identify new urban patterns of prescription opioid overdose before they become ubiquitous,
                                        and can inform our understanding of how future epidemics may emerge.

                                        Studies conducted in primarily rural states, such as the Appalachian, Great Plains and
                                        Southwest regions (Green et al., 2011; Hall et al., 2008; Paulozzi et al., 2009; Piercenfield et
                                        al., 2010; Shah et al., 2008; Wunsch et al., 2009) can inform our urban research. The highest


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                                    increases in fatalities in the period of 1990–2006 occurred among males, persons 35–54
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                                    years old, and non-Hispanic Whites (Green et al., 2011; Hall et al., 2008; Paulozzi et al.,
                                    2009; Piercenfield et al., 2010; Shah et al., 2008; Warner et al., 2009). Geographic variation
                                    has also been noted, with the largest increases found in rural areas and in areas with high
                                    retail drug availability (Brownstein et al., 2010; Havens et al., 2007a, 2007b). These secular
                                    changes have led to the concentration of prescription opioid overdose deaths in the current
                                    time among non-Hispanic White and American Indian/Alaska Native males in rural, low-
                                    income areas (Paulozzi et al., 2011). A comprehensive examination of the demographic and
                                    geographic variation in prescription opioid overdose fatalities within a city can be critical to
                                    help us identify the individual- and contextual-level factors that may be associated with the
                                    emergence of this problem in urban areas. Further, an understanding of where prescription
                                    opioid overdoses became concentrated in this period can aid in the deployment of
                                    surveillance and control efforts.
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                                    A critical issue to consider when understanding the emergence of a prescription opioid
                                    overdose epidemic in urban areas, is how the profile of prescription opioid overdose differs
                                    from that of other types of drug overdose. Prior studies have shown, for example, that
                                    prescription opioid overdose decedents are more likely to be older, female, White, and to
                                    have concurrently used psychotherapeutic drugs than heroin overdose decedents (Green et
                                    al., 2011; Shah et al., 2008). Given the historical focus of urban drug overdose research and
                                    prevention efforts on non-prescription drugs, identifying distinctions can facilitate the
                                    adaptation of current urban drug prevention strategies.

                                    This study aimed to analyze the epidemiology of prescription opioid-related overdose deaths
                                    in New York City (NYC) in the period leading to the emergence of the epidemic (1990–
                                    2006) by examining longitudinal trends and geographic differences within this city. In
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                                    particular, we examined: (1) changes in the epidemiologic patterns of prescription opioid
                                    overdose death in NYC in 1990–2006; (2) changes in patterns of spatial variation in
                                    prescription opioid overdose deaths across NYC neighborhoods in this time period; and (3)
                                    whether the profile of prescription opioid overdose decedents in NYC differed from the
                                    profile of heroin overdose decedents, the historically most prevalent form of opioid overdose
                                    in urban areas (Bryant et al., 2004; Frank, 2000). Prescription opioid overdose fatalities were
                                    examined as two types: analgesic opioid and methadone-induced overdose. Methadone has
                                    been prevalent in NYC for decades, and it presents a potentially distinct etiology from
                                    analgesic overdose (New York City Department of Health and Mental Hygiene, 2011).


                        2. Methods
                        2.1. Study population
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                                    Cases of fatal unintentional poisoning deaths (ICD-10 codes X40–X44, T40.0–T40.2)
                                    occurring in adults aged 15–64 years in NYC between 1990 and 2006 were identified
                                    through manual review of medical files at the Office of the Chief Medical Examiner of NYC
                                    (OCME) from 1990 to 2006. The OCME is responsible for investigating all deaths of people
                                    believed to have died from unnatural causes. Thus, all overdose deaths in NYC are reviewed
                                    by the OCME and would have been included in the charts used for data extraction.



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                        2.2. Data collection
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                                          Decedent’s medical history, the circumstances and environment of the death, autopsy
                                          findings, and laboratory data were used to attribute the cause of death to each case reviewed.
                                          Hence, classification of cause of death differs from simple presence or absence of a drug in a
                                          toxicological screen. Decedents with positive screens for a prescription opioid will not
                                          necessarily be classified as a prescription opioid-induced death, they may, instead, be
                                          classified as other types of accidental, non-overdose deaths or intentional deaths.
                                          Attributions of drugs as a cause of death by the OCME are not mutually exclusive: an
                                          overdose death may be attributed to more than one drug. Medical Examiner systems have
                                          shown high sensitivity, specificity and positive predictive value to identify external causes
                                          of death (Comstock et al., 2005; Landen et al., 2003; Sternfeld et al., 2010). Data regarding
                                          cause of death, circumstances of death, and toxicology were collected from the OCME files
                                          by trained abstractors using a standardized protocol and data collection forms. Further
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                                          details on overdose data collection are provided in Galea et al. (2003).

                                          Cases of unintentional overdose death in which a prescription opioid was cited as a cause of
                                          death, alone or in combination with other drugs, were classified as prescription opioid
                                          overdose deaths. Prescription opioids were classified as two types: (1) analgesic opioids
                                          (hereafter referred to as “analgesics”), including codeine, fentanyl, hydrocodone,
                                          hydromorphone, meperidine, morphine, oxycodone, and propoxyphene (the proportion of
                                          analgesic drug overdose deaths due to each type of analgesic drug is presented as online
                                          Supplementary Material1) and (2) methadone. Unintentional deaths with an undetermined
                                          cause, as well as overdose deaths with an undetermined drug that caused the overdose, were
                                          not included in the study. Deaths caused by intentional injury are not considered accidents
                                          by the OCME; hence, overdose deaths due to suicide were not considered in this study. Of
                                          all opioid-induced deaths, only 0.5% were listed as undetermined or suicide.
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                        2.3. Covariates
                                          To characterize the decedents from prescription opioid overdose, we abstracted the
                                          following characteristics from the OCME file: decedent sex, age, place of injury, and NYC
                                          borough of death. We also examined the proportion of prescription opioid overdose deaths
                                          in which heroin overdose was also a contributing cause, and the proportion of prescription
                                          opioid overdose deaths with positive toxicology reports for non-opioid substances, including
                                          alcohol, cannabinoids, cocaine, benzodiazepines, and antidepressants. The latter substances
                                          were detected but not considered primary causes of death in the cases of prescription opioid
                                          overdose deaths. A list of the benzodiazepine and antidepressant drugs detected is presented
                                          as online Supplementary Material.2
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                        2.4. Statistical analyses
                                          To fulfill our first objective of examining changes in epidemiologic patterns of analgesic
                                          overdose death, we followed three steps. We first compared the evolution of overdoses
                                          caused by prescription opioids to overdoses caused by other leadings types of drugs. We


                        1Supplementary material can be found by accessing the online version of this paper. Please see Appendix A for more information.
                        2Supplementary material can be found by accessing the online version of this paper. Please see Appendix B for more information.


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                                    calculated the overdose death rate per 100,000 person-years by leading type of drugs (single
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                                    and polydrug-induced overdose by cocaine, heroin, alcohol, methadone and analgesics) for
                                    each year from 1990 to 2006. To determine the rate denominators, we obtained total, age-,
                                    sex-, and race/ethnic-specific population counts for New York City for 1990 and 2000 from
                                    the Census Summary File 3 and for 2005–2006 from the American Community Survey
                                    (ACS) 2005–2009 (United States Census Bureau, 2012a, 2012b, 2012c). Population counts
                                    for the intervening years were computed using linear interpolation. We standardized cause-
                                    specific overdose mortality rates for New York City by age, sex, and race to the 2000 census
                                    for New York City to enable comparability between years in the analysis (Galea et al.,
                                    2003). A non-parametric test of trend across ordered groups was used to assess the
                                    significance of changes in the rates of drug-specific-induced deaths over time (Cuzick,
                                    1985).

                                    Second, we examined the evolution of prescription opioid overdose by race/ethnicity and
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                                    sex. We calculated prescription opioid overdose death rates between 1990 and 2006
                                    stratified by race and sex. We focused on the three largest racial/ethnic groups: White, Black
                                    and Latino. Thus, we calculated the age-standardized rate of overdose deaths caused by
                                    analgesics and methadone for White males, White females, Black males, Black females,
                                    Latino males, and Latino females.

                                    Third, we examined whether the patterns of co-occurring non-opioid drugs detected varied
                                    over time. In particular, we used a non-parametric test of trend to test whether the proportion
                                    of analgesic and methadone overdose fatalities with positive toxicology reports for non-
                                    opioid drugs (specifically, alcohol, cannabinoids, cocaine, benzodiazepines, and
                                    antidepressants) differed over time.

                                    To fulfill our second objective of investigating changes in patterns of spatial variation in
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                                    analgesic overdose deaths, we presented the spatial distribution of prescription opioid
                                    overdose death rates in 1990–1995, 1996–2000, and 2001–2006 across NYC neighborhoods.
                                    All OCME analgesic opioid overdose cases in 1990–2006 were geocoded to the
                                    neighborhood level by address of injury using ArcGIS software, version 9.0 (ESRI, 2011).
                                    Only cases with a valid address of injury (i.e., 88%) were included in the analysis; these
                                    cases did not differ in demographic characteristics from cases without a valid address of
                                    injury.

                                    Neighborhoods consist of adjoining zip codes, designated to approximate New York City
                                    Community Planning Districts. The assignment of zip code areas to neighborhoods, the
                                    decisions about which community planning districts were most appropriate to combine, and
                                    the delineation of neighborhoods were made by the Department of City Planning in
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                                    consultation with local residents. The 59 neighborhood boundaries have remained
                                    unchanged between the 1990 and 2000 census (New York City Department of City
                                    Planning, 2012).

                                    Age-adjusted rates were calculated for each year and then averaged for each five-year
                                    grouping. Small neighborhood-and year-specific cell sizes by sex, age and race/ethnicity
                                    impeded us from constructing age-, sex- and race/ethnicity-adjusted neighborhood rates.



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                                     Rates were smoothed using an Empirical Bayes technique to improve stability in areas with
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                                     large populations and very few cases (Pfeiffer, 2008). Data were then mapped to the 59
                                     community districts using ArcMap 10.0 (ESRI, 2011). To characterize the spatio-temporal
                                     variation in prescription opioid overdose mortality, we used bivariate Moran’s I statistics
                                     and estimated the correlation between neighborhood distribution of overdose deaths in
                                     1990–1995 and 1996–2000, as well as between 1996–2000 and 2001–2006. Spatial statistics
                                     were estimated using GeoDa 1.20.

                                     Our third objective was to compare the demographic and behavioral characteristics (e.g.,
                                     age, sex, race/ethnicity, concurrent drug toxicology) of prescription opioid overdose vs.
                                     heroin overdose deaths. To this end, logistic regression was used to examine the bivariable
                                     and multivariable relations between each of the decedent characteristics of interest and the
                                     likelihood of overdose deaths caused by: (1) analgesics alone compared to heroin alone and
                                     (2) methadone alone compared to heroin alone. All models controlled for year of death.
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                                     Given the low frequency of overdose fatalities in places other than residence, the places of
                                     residence were grouped into inside (representing “inside residence”), other inside (i.e.,
                                     workplace, jail/prison, hospital/doctor’s office/nursing home, hotel, bar/restaurant, building),
                                     and outside (i.e., public transportation or car, street/lots/school yard, parks or water) for this
                                     analysis. Models were estimated in SAS 9.2 (SAS Institute Inc., 2002–2008).


                        3. Results
                                     Analgesic and methadone overdose deaths are described in Table 1 and indicate that deaths
                                     were most common among middle-aged adults and males. While analgesic overdose was
                                     most frequent among Whites, methadone overdose was evenly distributed across Whites,
                                     Blacks and Hispanics. Heroin was a contributing cause in 44.6% of analgesic- and 39.9% of
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                                     methadone-induced overdose fatalities. The majority of deaths occurred in a residence
                                     (82.7% of analgesic- and 79.9% of methadone-induced deaths), and deaths were evenly
                                     distributed across the largest NYC boroughs (Manhattan, Bronx, Brooklyn, and Queens).
                                     The most frequently detected non-opioid drugs were cocaine (45.7% of analgesic- and
                                     53.2% of methadone-induced deaths), followed by antidepressants (37.4% of analgesic- and
                                     37.3% of methadone-induced deaths).

                        3.1. Changes in epidemiologic patterns of prescription opioid overdose death
                                     Prescription opioid deaths evolved in a distinct manner from other drugs in 1990–2006, the
                                     years leading to the emergence of the analgesic opioid overdose epidemic (Fig. 1). Cocaine-,
                                     heroin- and alcohol-induced deaths peaked in 1993–1995 with rates of 15.5/100,000,
                                     14.1/100,000 and 6.9/100,000, respectively. In contrast, methadone-induced deaths peaked
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                                     in 1991 (3.2/100,000) and in 2006 (4.4/100,000), while analgesic-induced deaths increased
                                     steadily starting in 1999 and reached their highest rates (2.7/100,000) in 2006. Analgesic
                                     overdose fatalities were the only types of overdose to exhibit significantly increasing trends
                                     from 1990 to 2006 (Z test of trend statistic = 3.13, P < 0.01); the analgesic overdose rate
                                     was almost seven times higher in 2006 than in 1990. The proportion of all overdose deaths
                                     caused by analgesics increased from 3.9% to 15.6% while the proportion of overdose deaths
                                     caused by methadone overdose fatalities increased from 15.9% to 25.1% in 1990–2006.



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                                    The increase in analgesic overdose was driven by increased rates among White and Latinos,
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                                    particularly males (Fig. 2a). In 1990, analgesic overdose rates were 0.62 for White, 0.56 for
                                    Latino and 0.41/100,000 for Black males; by 2006, the rates were 6.00 for White, 3.58 for
                                    Latino and 2.22/100,000 for Black males. Only White and Latino males exhibited a
                                    significant increase in analgesic overdose from 1990 to 2006 (Z test of trend statistic = 3.54;
                                    P < 0.01 and Z test of trend statistic = 2.39; P < 0.05, respectively). Among females, Whites
                                    and Latinas also exhibited a significant increase in analgesic overdose fatalities from 1990 to
                                    2006 (Z test of trend statistic = 2.81; P < 0.01 and Z test of trend statistic = 2.03; P < 0.05,
                                    respectively). In 1990, analgesic overdose rates were 0.31 for White, 0.27 for Latino and
                                    0.11 for Black females; by 2006, the rates were 1.71 for White, 1.66 for Latino and 0.91 for
                                    Black females.

                                    The demographic profile of methadone overdose deaths also shifted from 1990 to 2006 (Fig.
                                    2b). In 1990, methadone rates were 0.88 for White, 3.14 for Latino and 5.05/100,000 for
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                                    Black males; by 2006, the rates were 7.82 for White, 6.77 for Latino and 3.68 for Black
                                    males. Only White males exhibited a significant increase in methadone overdose deaths in
                                    this period (Z test of trend statistic = 2.83; P < 0.01), while Black males exhibited a
                                    significant decrease in methadone overdose deaths in the same period (Z test of trend
                                    statistic = 2.22; P < 0.05). Among females, Whites also exhibited a significant increase in
                                    methadone overdose fatalities from 1990 to 2006 (Z test of trend statistic = 3.00; P < 0.01).
                                    In 1990, methadone overdose rates were 0.47 for White, 1.48 for Latina and 1.25 for Black
                                    females; by 2006, the rates were 1.96 for White, 3.16 for Latina and 2.84 for Black females.

                                    The temporal patterns of co-occurring drugs detected differed for analgesic and methadone
                                    overdose fatalities. Fig. 3a and b presents the proportion of analgesic and methadone
                                    overdose deaths, respectively, with positive toxicology for different types of non-opioid
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                                    substances. The types of drugs detected in cases of analgesic overdose deaths did not vary
                                    over time, with the exception of cannabinoids; the proportion of analgesic overdose cases
                                    with a positive toxicology report for cannabinoids increased over time (Z = 2.22; P = 0.03).
                                    In contrast, the types of drugs detected in cases of methadone overdose deaths varied over
                                    time: while the proportion of cases with positive toxicology for alcohol (Z = −2.37; P =
                                    0.02) or cocaine (Z = −2.89; P = 0.004) decreased overtime, the proportion of cases with
                                    positive toxicology for cannabinoids (Z = 2.06; P = 0.04), or benzodiazepines (Z = 2.5; P =
                                    0.01) increased overtime.

                        3.2. Spatial patterns of prescription opioid overdose mortality
                                    The rates of analgesic and methadone overdose mortality followed distinct spatial patterns
                                    over time. As shown by the distribution of analgesic overdose mortality rates in Fig. 4,
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                                    clustering of analgesic overdose deaths shifted in space over time. There was no correlation
                                    between the neighborhoods with higher rates of analgesic overdose deaths in 1990–1995 and
                                    1996–2000 (bivariate Moran’s I = −0.02; P = 0.48), or the neighborhoods with higher rates
                                    in 1996–2000 and 2001–2006 (I = −0.01; P = 0.55). In contrast, clusters of neighborhoods
                                    with high rates of methadone overdose surrounded by other neighborhoods with high rates
                                    remained stable over time (Fig. 4). There was a high and significant correlation between
                                    neighborhoods with higher methadone overdose death rates in 1990–1995 and 1996–2000 (I



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                                    = 0.45; P = 0.001), and between the spatial distribution of methadone overdose death rates
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                                    in 1996–2000 and 2001–2006 (I = 0.43; P = 0.001).

                        3.3. Differences in epidemiologic patterns of prescription opioid and heroin overdose
                        deaths
                                    Prescription opioid-only overdose deaths presented different demographic and behavioral
                                    characteristics from heroin overdose deaths (Table 2). Relative to heroin overdose
                                    decedents, decedents from analgesic-only or methadone overdose-only were more likely to
                                    be female. Overdose fatalities induced by analgesics or methadone were less likely to occur
                                    outside of a residence than heroin overdose fatalities, and they were less likely to involve
                                    alcohol or cocaine. They were more likely to involve the use of benzodiazepines and
                                    antidepressants. Relative to heroin overdose decedents, analgesic overdoses were less likely
                                    to be experienced by Blacks or Hispanics, and they were more likely to occur in Queens or
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                                    Staten Island. In contrast, decedents from methadone overdose were more likely to be Black
                                    or Hispanic and to have overdosed in Staten Island than heroin overdose decedents.


                        4. Discussion
                                    The period from 1990 to 2006 was a time of significant growth in analgesic overdose
                                    fatalities in NYC. While methadone overdose remained stable, the rate of analgesic
                                    overdose deaths in NYC in 2006, at 2.7 per 100,000 persons, was almost seven times higher
                                    than the rate in 1990; indeed, analgesic overdose was the only type of overdose fatality to
                                    escalate in this period. Increased rates of analgesic overdose fatalities can be driven by
                                    increased rates of analgesic use and misuse, as well as by changes in the rate of mortality
                                    among users who overdosed. The parallel sharp increase in rates of use (Blanco et al, 2007;
                                    Zacny et al., 2003) and abuse/dependence (Blanco et al., 2007) in the study period suggests
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                                    that a major contributor to the escalation in analgesic overdose mortality were the growing
                                    rates of analgesic use and abuse that followed the tenfold increase in the medical use of
                                    opioids since 1990 (Okie, 2010). In 1997–2007, per capita retail purchases of hydrocodone
                                    and oxycodone increased 4-fold and 9-fold, respectively (ARCOS: Automation of Reports
                                    and Consolidated Orders System, 2012); sales, substance abuse treatment admissions and
                                    overdose death rates have increased in parallel (CDC, 2011).

                                    Due to the focused rise in analgesic opioid overdose fatalities among Whites, the gap across
                                    racial/ethnic groups increased over time, so that by 2006, the analgesic overdose fatality rate
                                    among White males was almost two times higher than the rate among Latinos and almost
                                    three times higher than the rate among Blacks. These inequalities are consistent with
                                    patterns found elsewhere: at a national level, the analgesic overdose rate among Whites was
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                                    three times higher than rates in Blacks and Latinos (CDC, 2011); state-level studies reported
                                    similar findings (Piercenfield et al., 2010; Shah et al., 2008). The differences may reflect
                                    different patterns of drug use in the different racial/ethnic groups throughout the sixteen
                                    years of study. Prior studies have found that Blacks are more likely to overdose on cocaine,
                                    while Whites and Latinos are more likely to overdose on opioids and alcohol (Coffin et al.,
                                    2003; Galea et al., 2003). In the case of analgesics, racial/ethnic differences in access may
                                    play an important role, given the same clinical presentation and report of pain level, racial/



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                                    ethnic minorities are less likely to receive a prescription for an analgesic (Green et al., 2005;
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                                    Mayer et al., 2008). Price may also play a role (Greenwald and Hursh, 2006); the lower
                                    price of heroin relative to analgesics may create an economic disincentive for racial/ethnic
                                    minorities to consume analgesics.

                                    Methadone overdose fatalities also experienced a demographic shift, by 2006, the
                                    methadone overdose fatality rate among Whites was two times higher than the rate among
                                    Blacks. While methadone overdose rates among Whites increased almost nine-fold in 1990–
                                    2006, overdose rates among Blacks decreased by 27% in the same period. Concurrently, the
                                    pattern of co-occurring drugs detected with methadone shifted from cocaine to cannabinoids
                                    and benzodiazepines. These changes may reflect the shift in the nature of methadone use,
                                    from a focused use as a treatment for heroin addiction, primarily among racial/ethnic
                                    minorities with a history of substance abuse, to increasing use as a treatment for chronic
                                    non-cancer pain, in conjunction with analgesics and other types of prescription drugs
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                                    (Paulozzi et al., 2009; Paulozzi, 2012).

                                    Analgesic and methadone overdose fatalities exhibited strikingly different spatial patterns
                                    over time. While clusters of analgesic overdose fatalities shifted spatially from 1990 to
                                    2006, methadone overdose fatalities were concentrated in the same neighborhoods from
                                    1990 to 2006. The distinct spatio-temporal patterns exhibited by analgesics vs. methadone
                                    suggest that each type of prescription opioid may also be associated with distinct contextual
                                    factors. To provide local context, it is worth noting that the neighborhoods with high rates of
                                    analgesic overdose fatalities were characterized by high income inequality but lower rates of
                                    poverty in the year 2000 (United States Census Bureau, 2000). In contrast, methadone
                                    overdose fatalities were consistently concentrated in neighborhoods with high income
                                    inequality, high rates of poverty and lower median income (United States Census Bureau,
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                                    2000). Future studies need to investigate the role that contextual factors play in the
                                    proliferation of analgesic vs. methadone overdose fatalities over time.

                                    Despite high rates of co-occurrence with heroin, prescription opioid overdose presents a
                                    different etiologic profile from heroin overdose. In our study, methadone and analgesic
                                    opioid decedents were less likely to present traces of alcohol or cocaine than heroin
                                    overdose decedents, but they were more likely to show traces of psychotherapeutic drugs
                                    such as benzodiazepines and antidepressants. They were also more likely to be female than
                                    heroin overdose decedents, and to overdose at home. Studies in other states also found that
                                    prescription opioid overdose decedents were more likely to be female and have co-occurring
                                    use of psychotherapeutic drugs (Green et al, 2011; Shah et al., 2008). These findings
                                    indicate that the prescription opioid consumer may be quite distinct from the heroin
                                    consumer, showing a lower involvement in street-based forms of drug trafficking, access
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                                    and consumption, and less comorbid consumption of drugs such as cocaine. Given the
                                    increasing rates of prescription opioid overdose fatalities in urban areas such as NYC, we
                                    may need to develop a distinct response to this problem.

                                    This study is subject to several limitations. First, the OCME classified certain deaths as
                                    caused by “unspecified opioids” and some of these cases may be methadone or analgesic
                                    overdose deaths, leading to an underestimate of the prevalence of prescription opioid


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                                    overdose in our study. Second, we had no information on the source of prescription opioids,
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                                    i.e., whether it had been obtained from a licensed provider or from a third party. Third, data
                                    was only available until 2006. Subsequent trends remain to be analyzed once more recent
                                    data becomes accessible. However, an examination of the demographic profile of
                                    prescription opioid overdose fatalities in a period that experienced dramatic growth in
                                    prescription opioid overdose provided critical information on potential factors associated
                                    with the proliferation of prescription opioid abuse.

                                    Early recognition of drug abuse patterns is critical to the design of strategies that prevent use
                                    and abuse from spreading and stop an epidemic before it emerges. This study provides
                                    insights about the emergence of an analgesic opioid epidemic in a large, multiethnic urban
                                    area, as well as a potentially developing methadone overdose epidemic among White
                                    residents who may use methadone to treat chronic pain. Our findings suggest that in order to
                                    prevent the development of a prescription opioid epidemic, steps in the 1990s to increase the
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                                    availability and use of analgesics, including aggressive marketing of potent formulations
                                    such as oxycodone hydrochloride and efforts to encourage clinicians to be more proactive in
                                    identifying and treating chronic pain, should have been accompanied by stricter measures to
                                    regulate sales of analgesics and to prevent the proliferation of illicit high-volume prescribers
                                    (Boudreau et al., 2009; Paulozzi et al., 2006). At the current time, effective reduction of
                                    prescription opioid overdose deaths in NYC will require localized interventions, including
                                    real-time prescription monitoring programs, that shape availability and access to prescription
                                    drugs, focused action by law enforcement to identify networks of illicit distribution of
                                    prescription opioids, policies to increase naloxone dispensation to reduce fatalities from
                                    overdose, increased use of buprenorphine rather than methadone for harm reduction, and
                                    education of physicians and health care providers about prescription drug abuse and
                                    overdose (Pew Health Group, 2012).
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                        Supplementary Material
                                    Refer to Web version on PubMed Central for supplementary material.


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                                    Fig. 1.
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                                    Standardized overdose death rates by type of drug, New York City, 1990–2006.
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                                    Fig. 2.
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                                    (a) Analgesic-induced death rates by race/ethnicity and sex, New York City, 1990–2006. (b)
                                    Methadone-induced death rates by race/ethnicity and sex, New York City, 1990–2006.




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                                    Fig. 3.
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                                    (a) Proportion of analgesic-induced overdose deaths with other drugs detected, by type of
                                    drug. (b) Proportion of methadone-induced overdose deaths with other drugs detected, by
                                    type of drug.




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                                    Fig. 4.
                                    Age-adjusted analgesic- and methadone-induced overdose death rates by community
                                    district, New York City. Maps are presented in three panels (from left to right) for the
                                    periods of 1990–1995, 1996–2000, and 2001–2006. Analgesic overdose fatalities are
                                    presented in the upper row, and methadone overdose fatalities are presented in the lower
                                    row.
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                                                                                     Table 1

                     Characteristics of analgesic- and methadone-induced overdose deaths, New York City, 1990–2006.a,b
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                                                                     Analgesic overdose   Methadone overdose
                                                                          N         %           N        %
                      Total                                             681        100       2207       100
                      Sex
                       Male                                             488       71.66      1522      68.96
                       Female                                           193       28.34        685     31.04
                      Race/ethnicity
                       White                                            409       60.06        808     36.61
                       Black                                            116       17.03        679     30.77
                       Hispanic                                         148       21.73        704     31.90
                      Age
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                       15–24                                             45        6.61         67      3.04
                       25–34                                            134       19.68        347     15.72
                       35–44                                            268       39.35        962     43.59
                       45–54                                            190       27.90        684     30.99
                       55–64                                             44        6.46        146      6.62
                      Place of injury
                       Residence                                        532       82.74      1632      79.92
                       Workplace                                          3        0.47          9      0.44
                       Jail/prison                                        1        0.16         13      0.64
                       Hospital/doctor’s office/nursing home             10        1.56         52      2.55
                       Public transportation or car                      18        2.80         57      2.79
                       Hotel (in room or elsewhere)                      38        5.91         88      4.31
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                       Bar/restaurant                                     4        0.62          5      0.24
                       Streets/lot/school yard                           24        3.73        137      6.71
                       Parks or water                                     5        0.78         19      0.93
                       Building (public, abandoned or unspecified)        8        1.24         30      1.47
                       Unknown                                           38        5.60        165      7.50
                      Borough of death
                       Manhattan                                        167       24.52        611     27.68
                       Bronx                                            140       20.56        551     24.97
                       Brooklyn                                         151       22.17        618     28.00
                       Queens                                           171       25.11        336     15.22
                       Staten Island                                     52        7.64         91      4.12
                      Heroin as a contributing cause
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                       No                                               377       55.36      1646      60.07
                       Yes                                              304       44.64      1094      39.93
                      Drugs detected
                       Alcohol detected
                         No                                             437       64.17      1492      67.60




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                                                                      Analgesic overdose      Methadone overdose
                                                                            N           %            N           %
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                           Yes                                            230        33.77         664        30.09
                         Cannabinoids detected
                           No                                             408        59.91        1148        52.02
                           Yes                                             60         8.81         140         6.34
                         Cocaine detected
                           No                                             370        54.33        1034        46.85
                           Yes                                            311        45.67        1173        53.15
                         Benzodiazepines detected
                           No                                             428        62.85        1667        75.53
                           Yes                                            253        37.15         540        24.47
                         Antidepressants detected
                           No                                             426        62.56        1384        62.71
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                           Yes                                            255        37.44         823        37.29

                     a
                      The two groups are not exclusive – there are overlapping cases of analgesic- and methadone-induced overdose fatalities.
                     b
                      Some frequencies do not add up to 100% due to missing data.
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                                                                                                                                                                               Table 2

                                                                                    Associations with analgesic- or methadone-induced overdose deaths relative to heroin-induced overdose deaths, New York City, 1990–2006.a,b

                                                                                                             Analgesic-induced overdose deaths            Methadone-induced overdose deaths
                                                                                                                                                                                                                                 Cerdá et al.




                                                                                                              Unadjusted                Adjusted            Unadjusted                 Adjusted

                                                                                                           OR      95% CI        OR        95% CI        OR      95% CI         OR        95% CI
                                                                                     Sex
                                                                                      Female               1.88   (1.49, 2.38)   1.57     (1.21, 2.04)   2.58   (2.26, 2.93)    1.99     (1.72, 2.30)
                                                                                     Race/ethnicity
                                                                                      White
                                                                                      Black                0.43   (0.32, 0.58)   0.74     (0.54,1.02)    1.33   (1.16,1.53)     1.48     (1.25, 1.75)
                                                                                      Hispanic             0.32   (0.24, 0.43)   0.50     (0.37, 0.69)   0.97   (0.84,1.12)     1.26     (1.07,1.49)
                                                                                     Age
                                                                                      15–24                1.17   (0.77,1.78)                            0.39   (0.28, 0.55)    0.39     (0.27, 0.57)
                                                                                      25–34                0.96   (0.72,1.29)                            0.56   (0.47, 0.66)    0.60     (0.50, 0.72)
                                                                                      35–44
                                                                                      45–54                0.95   (0.73,1.25)                            1.24   (1.07,1.43)     1.17     (0.99,1.37)
                                                                                      55–64                1.25   (0.82,1.90)                            1.36   (1.05,1.76)     1.41     (1.06,1.87)
                                                                                     Place of injury
                                                                                      Residence
                                                                                      Other inside         0.50   (0.36, 0.71)   0.54     (0.38, 0.78)   0.72   (0.60, 0.86)    0.78     (0.65, 0.95)
                                                                                      Outside              0.38   (0.22, 0.67)   0.54     (0.29, 0.96)   0.78   (0.63, 0.98)    0.95     (0.75,1.19)
                                                                                     Borough of death
                                                                                      Manhattan
                                                                                      Bronx                0.49   (0.34, 0.71)   0.55     (0.37, 0.81)   0.99   (0.84,1.17)     0.95     (0.79,1.14)




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                                                                                      Brooklyn             0.84   (0.62,1.12)    0.79     (0.58,1.08)    1.19   (1.02,1.38)     1.14     (0.97,1.35)
                                                                                      Queens               1.80   (1.35, 2.41)   1.42     (1.03,1.94)    1.08   (0.90,1.30)     1.05     (0.86,1.30)
                                                                                      Staten Island        2.58   (1.68,3.96)    1.51     (0.93, 2.44)   1.70   (1.26, 2.31)    1.68     (1.19, 2.38)
                                                                                     Drugs detected
                                                                                      Alcohol detected     0.61   (0.49, 0.77)   0.65     (0.50, 0.83)   0.47   (0.42, 0.54)    0.52     (0.46, 0.60)
                                                                                      Cannabis detected    1.21   (0.84, 1.73)                           0.70   (0.56, 0.89)    0.87     (0.67, 1,12)
                                                                                      Cocaine detected     0.66   (0.54, 0.82)   0.75     (0.60, 0.95)   0.82   (0.73, 0.93)    0.86     (0.76, 0.99)
                                                                                                                                                                                                                                 Page 20
                                                                                                                                                                                                                                                Case 3:17-cv-01362 Document 1115-7 Filed 10/24/20 Page 21 of 22 PageID #: 37370
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                                                                                                                     Analgesic-induced overdose deaths            Methadone-induced overdose deaths

                                                                                                                      Unadjusted                Adjusted            Unadjusted                Adjusted

                                                                                                                   OR       95% CI        OR       95% CI        OR      95% CI        OR        95% CI
                                                                                        Benzodiazepines detected   3.79   (3.04, 4.74)   2.81     (2.20,3.58)    2.09   (1.82, 2.42)   1.93     (1.64, 2.28)
                                                                                                                                                                                                                                                                                        Cerdá et al.




                                                                                        Antidepressants detected   2.27   (1.82, 2.84)   1.83     (1.43, 2.33)   3.51   (3.09, 3.98)   2.98     (2.60, 3.42)

                                                                                    a
                                                                                     Separate logistic regression models were estimated to contrast analgesic- vs. heroin-induced overdose deaths, and methadone- vs. heroin-induced overdose deaths.
                                                                                    b
                                                                                     Overlapping cases of analgesic- and heroin-induced overdose deaths were removed for the analgesic-vs. heroin-induced overdose contrast, while overlapping cases of methadone- and heroin-induced
                                                                                    overdose deaths were removed for the methadone- vs. heroin-induced overdose contrast.




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